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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY

   CHAMBERS OF                                                                   UNITED STATES DISTRICT COURT
HAROLD A. ACKERMAN                                                                   POST OFFICE BOX 999
   SENIOR JUDGE                                                                  NEWARK, NEW JERSEY 07101-0999




                                                   October 2, 2008


      RE:    United States v. Delle Donna, Criminal No. 07-784


      TO ALL COUNSEL OF RECORD


      Dear Counsel:

              I have received Mr. Lamparello’s October 1, 2008 letter requesting a conference to
      consider Mr. Delle Donna’s “additional healing time” and anticipated “radiation therapy” with
      regard to the scheduled sentencing date. I have carefully reviewed Dr. Wittig’s medical report.
      The record reflects that the Court has been appropriately sympathetic to Mr. Delle Donna’s
      medical needs. As Mr. Lamparello stated in his prior letter of September 23, 2008, sentencing
      for Mr. Delle Donna, and Mrs. Delle Donna, will proceed as scheduled on October 23, 2008 at
      11:00am.




                                                   SO ORDERED


                                                   /s/ Harold A. Ackerman
                                                   U.S.D.J.
